               Case 22-14766-SMG             Doc 107      Filed 08/08/24       Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
               SOUTHERN DISTRICT OF FLORIDA - FORT LAUDERDALE DIVISION


IN RE:

 RALPH LEVI SANDERS, JR.,                              CASE NO.: 22-14766-SMG
                                                       CHAPTER 13
                                                       JUDGE SCOTT M GROSSMAN
          Debtor(s).
                                                   /

                   NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
                   Subject Property:561 SW 60 AVE, HIALEAH GARDENS, FL 33018

         PLEASE TAKE NOTICE that the undersigned counsel is appearing on behalf of The Bank of

New York Mellon, f/k/a The Bank of New York, successor in interest to JPMorgan Chase Bank, N.A. as

Trustee for Bear Stearns Asset Backed Securities Trust 2006-SD2, Asset-Backed Certificates, Series 2006-

SD2 in the above-captioned case, and requests that all notices given or required to be given in this case, and

all papers served or required to be served in this case, be provided to and served upon the undersigned,

pursuant to Rules 2002, 9007 and 9010 of the Federal Rules of Bankruptcy Procedure, Section 1109(b) of

the Bankruptcy Code, and the Local Rules of this Bankruptcy Court.

         It is respectfully requested that pursuant to Rule 2002(g), the following be added to the Court’s

Mailing Matrix:

DIAZ ANSELMO & ASSOCIATES, P.A.
P.O. BOX 19519
FORT LAUDERDALE, FL 33318


                                                  By: /s/ Ida A. Moghimi-Kian
                                                  Ida A. Moghimi-Kian
                                                  Florida Bar No. 56395
                                                  Diaz Anselmo & Associates, P.A.
                                                  Attorneys for Creditor
                                                  P.O. BOX 19519
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                                                  IMoghimi-Kian@dallegal.com

File No. 1497-207055
              Case 22-14766-SMG          Doc 107     Filed 08/08/24   Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this day, August 8, 2024, a copy of the foregoing was

furnished electronically and/or via first class U.S. Mail upon:

RALPH LEVI SANDERS, JR.
561 SW 60 AVE.
PLANTATION, FL 33317
Pro Se Debtor(s)

ROBIN R.WEINER
PO BOX 559007
FT. LAUDERDALE, FL 33355
Trustee

UNITED STATES TRUSTEE
OFFICE OF THE U.S. TRUSTEE
51 S.W. 1ST AVE. SUITE 1204
MIAMI, FL 33130
U.S. Trustee


                                              By: /s/ Ida A. Moghimi-Kian
                                              Ida A. Moghimi-Kian
                                              Bar No. 56395
                                              IMoghimi-Kian@dallegal.com
